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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,
                                                              Civil Action No. 1:23-cv-1346 (JSR)
v.

TERRAFORM LABS PTE LTD. and
                                                             NOTICE OF APPEARANCE OF
DO HYEONG KWON,
                                                                  SEAN HECKER
                                                                  ON BEHALF OF
                                Defendants.
                                                                DO HYEONG KWON



       PLEASE TAKE NOTICE that Sean Hecker, an attorney duly admitted to practice in

this Court, hereby enters his appearance on behalf of Defendant Do Hyeong Kwon in the above-

captioned action, and requests that all notices, filings, and other papers relating to this action be

served upon him at the undersigned address.

Dated: January 16, 2024
       New York, New York

                                                       ___________________________________
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